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11                                      UNITED STATES DISTRICT COURT
12                                   NORTHERN DISTRICT OF CALIFORNIA
13                                            SAN FRANCISCO DIVISION
14

15    FIRSTFACE CO., LTD.,                                    Case No.   3:18-cv-02245-JD
16                               Plaintiff,                   DEFENDANT APPLE INC.’S
                                                              NOTICE OF MOTION AND
17            v.                                              MOTION TO DISMISS PLAINTIFF
                                                              FIRSTFACE CO., LTD.’S
18    APPLE INC.,                                             COMPLAINT
19                               Defendant.                   Date: August 30, 2018
                                                              Time: 10:00am
20                                                            Courtroom: 11
                                                              Before: Hon. James Donato
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 1            PLEASE TAKE NOTICE that on August 30, 2018, at 10:00 a.m., or as soon as the matter

 2    may be heard, in Courtroom 11, of the United States District Court of the Northern District of

 3    California, located at 450 Golden Gate Avenue, San Francisco, California 94102, Defendant

 4    Apple Inc. (“Apple”) moves to dismiss the Original Complaint (Dkt. 1) (“Complaint”) of Plaintiff

 5    Firstface Co., Ltd. (“Firstface”) under Rule 12(b)(6) of the Federal Rules of Civil Procedure.

 6            Apple bases this Motion on this Notice of Motion, its Memorandum of Points and

 7    Authorities, the pleadings, records, and files in this action, and all other written or oral arguments

 8    or evidence that the parties may present to the Court relating to this Motion. Apple respectfully

 9    asks that the Court dismiss the Complaint in this action for failure to state a claim upon which

10    relief may be granted, with prejudice as to the claim of willful infringement, and for any other

11    relief that the Court deems just and proper.

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 1                         MEMORANDUM OF POINTS AND AUTHORITIES

 2    I.       INTRODUCTION AND STATEMENT OF ISSUES TO BE DECIDED
 3             Firstface’s Complaint fails to provide adequate notice to Apple of the basis for its claims.

 4    Firstface alleges direct infringement, induced infringement, contributory infringement, and willful

 5    infringement, but pleads none sufficiently.

 6             The direct infringement allegations are deficient because Firstface simply restates the

 7    claim language of the asserted patents with no factual allegations as to how the accused products

 8    allegedly infringe. Firstface’s claims of direct infringement are akin to those of Form 18, an

 9    overturned approach to pleading that this Court noted “produces the usual cryptic and

10    uninformative patent infringement complaints that provide virtually no information to a defendant

11    or reviewing court.” CAP Co. v. McAfee, Inc., Case No. 14-CV-05068-JD, 2015 WL 3945875, at

12    *2 (N.D. Cal. June 26, 2015).

13             The Complaint also fails to plausibly allege induced infringement, as Firstface has not

14    pleaded sufficient facts to support any inference that Apple has the required specific intent to

15    persuade others to engage in conduct that Apple knows is infringing. And the Complaint fails to

16    plausibly allege contributory infringement because Firstface has neglected to sufficiently allege

17    that the accused products lack substantial non-infringing uses, much less that Apple knows that

18    they are especially made or adapted for infringement.

19             The Complaint fails to state a plausible claim for willful infringement. Firstface has not

20    adequately alleged pre-suit knowledge of the ’557 patent—the only patent for which willfulness

21    is asserted—and fails to plead facts to support an inference of egregious conduct by Apple.

22    Firstface’s Complaint is similar to those that courts in this district routinely dismiss. Apple

23    requests that the Court do so here.

24    II.      STATEMENT OF FACTS
25             Firstface’s Complaint alleges that Apple directly and indirectly infringes U.S. Patent Nos.

26    8,831,557 (“the ’557 patent”); 9,633,373 (“the ’373 patent”); and 9,779,419 (“the ’419 patent”)

27    (collectively, “the asserted patents”). (Complaint, ¶¶ 10, 24, 37.) The Complaint also alleges that

28    Apple willfully infringes the ’557 patent. (Id., ¶ 20.) The Complaint generally defines the

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 1    “Accused Products” as “Apple mobile devices” and “Apple smartphones,” and alleges that both

 2    categories “support fingerprint authentication and Siri functionality.” (Id., ¶¶ 10, 24, 37.)

 3            Firstface’s direct infringement allegations consist of identical paragraphs for each asserted

 4    patent alleging that the “making, using, selling, offering to sell, and/or importing [of] the Accused

 5    Products” infringes the asserted patents. (Id., ¶¶ 11, 25, 38.) Firstface then alleges “each of the

 6    Accused Products has . . .,” followed by a rote recitation of claim elements. (Id., ¶¶ 12, 26, 39.)

 7            Firstface’s induced infringement allegations consist of two short paragraphs for each

 8    asserted patent alleging that “Apple has specifically intended . . . for persons who acquire and use

 9    the Accused Products . . . to use such devices in a manner that infringes” and that “Apple knows

10    . . . that its actions have actively induced . . . infringement.” (Id., ¶¶ 15, 16, 29, 30, 42, 43.) The

11    contributory infringement allegations similarly consist of two short paragraphs as to each asserted

12    patent, alleging that “the Accused Products include proprietary hardware components and

13    software instructions that work in concert to perform specific, intended functions” that are “a

14    material part of the inventions of the [asserted] patent and are not staple articles of commerce

15    suitable for substantial non-infringing uses.” (Id., ¶¶ 17, 18, 31, 32, 44, 45.)

16            Firstface’s willful infringement allegation consists of a single paragraph, stating that

17    “[d]espite having knowledge of the ’557 patent, and knowledge that it is potentially . . . infringing

18    claims of the ’557 patent, Apple has nevertheless continued its infringing conduct in an egregious

19    manner.” (Id., ¶ 20.) For its allegation of knowledge to support willfulness, Firstface relies on

20    the filing of the Complaint and an offer made to Apple to sell Firstface’s patent portfolio. (Id., ¶

21    14.) The Complaint makes no statements alleging any other element of willful infringement.

22    III.    LEGAL STANDARDS
23            A.      Motion to Dismiss
24            Courts must dismiss complaints that “fail[ ] to state a claim upon which relief can be

25    granted.” Fed. R. Civ. P. 12(b)(6). To survive a motion to dismiss under Rule 12(b)(6), a

26    complaint must plead sufficient facts to “state a claim to relief that is plausible on its face.”

27    Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544,

28    570 (2007)). To satisfy this factual plausibility standard, the plaintiff must plead “factual content

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 1    that allows the court to draw the reasonable inference that the defendant is liable for the

 2    misconduct alleged,” based on “more than a sheer possibility that a defendant has acted

 3    unlawfully.” Id. (citing Twombly, 550 U.S. at 556). A court need not accept as true a complaint’s

 4    “legal conclusions,” and should not assume facts not alleged or draw unwarranted inferences. Id.

 5    at 679. “Threadbare recitals of the elements of a cause of action, supported by mere conclusory

 6    statements, do not suffice.” Id. at 678 (citing Twombly, 550 U.S. at 555).

 7            B.      Direct Infringement
 8            Courts in this District have interpreted Iqbal and Twombly to require a complaint alleging

 9    direct patent infringement to do more than “simply recit[e] some of the elements of a

10    representative claim and then describe[e] generally how an accused product operates, without

11    specifically tying the operation to any asserted claim.” Atlas IP LLC v. Pacific Gas & Elec. Co.,

12    Case No. 15-CV-5469-EDL, 2016 WL 1719545, at *2 (N.D. Cal. Mar. 9, 2016); see also Elan

13    Microelectronics Corp. v. Apple, Inc., Case No. 09-CV-01531 RS, 2009 U.S. Dist. LEXIS 83715,

14    at *4–8 (N.D. Cal. Sept. 14, 2009) (dismissing direct infringement counterclaims accusing

15    products and functionalities in conclusory manner under Twombly and Iqbal). Patent cases

16    involving “less tangible inventions such as computer software methods may require a higher

17    degree of specificity to provide proper notice to the defendant.” Anza Tech., Inc. v. D-Link Sys.,

18    Case No. 3:16-CV-01263-BEN-AGS, 2016 WL 8732647, at *4 (S.D. Cal. Nov. 4, 2016) (internal

19    citation omitted)).

20            C.      Induced Infringement
21            A claim of induced infringement under 35 U.S.C. § 271(b) first requires an underlying

22    direct infringement. FootBalance Sys. Inc. v. Zero Gravity Inside, Inc., Case No. 15-CV-1058

23    JLS (DHB), 2016 WL 903681, at *5 (S.D. Cal. Feb. 8, 2016) (dismissing indirect infringement

24    claims, noting that “to prevail on an indirect patent infringement claim, the patentee must

25    establish first that there has been direct infringement”). The plaintiff must then show “that the

26    alleged infringer knowingly induced infringement and possessed specific intent to encourage

27    another’s infringement.” MEMC Elec. Materials, Inc. v. Mitsubishi Materials Silicon Corp., 420

28    F.3d 1369, 1378 (Fed. Cir. 2005) (quotations and citations omitted); see also Vita-Mix Corp. v.

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 1    Basic Holding, Inc., 581 F.3d 1317, 1328 (Fed. Cir. 2009) (claim for inducement “requires a

 2    showing that the alleged inducer knew of the patent, knowingly induced the infringing acts, and

 3    possessed a specific intent to encourage another’s infringement of the patent”). Courts have

 4    further held that a critical component of specific intent under Section § 271(b) is proof that an

 5    inducer “persuade[d] another to engage in conduct that the inducer knows is infringement.”

 6    Global-Tech Appliances, Inc. v. SEB S.A., 131 S. Ct. 2060, 2065 (2011).

 7            D.      Contributory Infringement
 8            Like induced infringement, a claim of contributory infringement under 35 U.S.C. § 271(c)

 9    first requires an underlying direct infringement. See FootBalance, 2016 WL 903681, at *5. The

10    plaintiff is then required to show that the defendant provides a material component of a patented

11    invention, knowledge by the defendant that the component is especially made or especially

12    adapted for use in an infringing combination, and that the component is not a staple or article

13    suitable for substantial non-infringing use. See Fujitsu Ltd v. Netgear Inc., 620 F.3d 1321, 1326

14    (Fed. Cir. 2010) (citing 35 U.S.C. § 271(c)). Also similar to induced infringement, the accused

15    contributory infringer “must know that the combination for which [its] component was especially

16    designed was both patented and infringing.” Global-Tech, 131 S. Ct. at 2067 (internal quotations

17    omitted).

18            E.      Willful Infringement
19            The Federal Circuit has consistently held that “[k]nowledge of the patent alleged to be

20    willfully infringed continues to be a prerequisite to enhanced damages.” WBIP, LLC v. Kohler

21    Co., 829 F.3d 1317, 1341 (Fed. Cir. 2016); see also Gustafson, Inc. v. Intersystems Indus. Prods.,

22    Inc., 897 F.2d 508, 510-11 (Fed. Cir. 1990) (“[A] party cannot be found to have ‘willfully’

23    infringed a patent of which the party had no knowledge.”).

24            While knowledge is a prerequisite, it is not enough: the Supreme Court held that

25    willfulness must be reserved for “egregious cases of misconduct beyond typical infringement.”

26    Halo Elecs., Inc. v. Pulse Elecs., Inc., 136 S. Ct. 1923, 1935 (2016); see also id. at 1936 (Breyer,

27    J., concurring) (knowledge of patent “and nothing more” does not necessitate enhanced

28    damages) (emphasis in original). As such, courts in this District grant motions to dismiss willful

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 1    infringement claims where the plaintiff fails to plead sufficient, plausible factual allegations of

 2    “egregious” conduct. See, e.g., Finjan, Inc. v. Cisco Sys. Inc., Case No. 17-CV-00072-BLF, 2017

 3    WL 2462423, at *5 (N.D. Cal. June 7, 2017) (“[E]ven if [plaintiff] had adequately alleged that

 4    [defendant] had pre-suit knowledge of the Asserted Patents, dismissal would also be warranted

 5    because the [first amended complaint] does not contain sufficient factual allegations to make it

 6    plausible that [defendant] engaged in ‘egregious’ conduct that would warrant enhanced damages

 7    under Halo.”); XpertUniverse, Inc. v. Cisco Sys., Inc., Case No. 17-CV-03848-RS, 2017 WL

 8    4551519, at *6 (N.D. Cal. Oct. 11, 2017) (“Although [plaintiff] has alleged knowledge and

 9    continued infringement, it needs to do more to show that [defendant] has engaged in ‘egregious

10    cases of misconduct beyond typical infringement’ that could possibly warrant enhanced

11    damages.” (quoting Halo, 136 S. Ct. at 1935)).

12    IV.     ARGUMENT
13            A.      The Complaint fails to adequately plead direct infringement.
14            Firstface’s direct infringement claims do not provide proper notice under Iqbal and

15    Twombly, as they do no more than recite elements of claims and assert generally that Apple

16    practices those claims through a broad category of accused products. See Atlas IP, 2016 WL

17    1719545, at *2. Firstface’s allegations relating to the ’557 patent accuse “Apple mobile devices

18    that support fingerprint authentication,” with a laundry list of Apple devices defined as the

19    “Accused Products.” (Complaint, ¶ 10.) Firstface then restates the text of the asserted claims,

20    leaving Apple to speculate as to the specific grounds on which Firstface’s allegations rest. (Id., ¶

21    12.)   In a representative example, asserted claim 1 of the ’557 patent requires “a user

22    identification unit . . . [that] perform[s] simultaneously with switching from the inactive state of

23    the display unit to the active state . . . the user identification function includ[ing] a fingerprint

24    recognition.” (’557 patent, claim 1, 12:46-53.) In the Complaint, Firstface repeats this element,

25    alleging that “[e]ach of the Accused Products also contains a user identification unit that uses

26    fingerprint recognition to identify the user simultaneously with switching the display from the off

27    state to the on state.” (Complaint, ¶ 12.) The Complaint does not link those claim requirements

28    to the actual functionality or components of the accused products. This is insufficient to provide

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 1    notice under Rule 12. See Atlas IP, 2016 WL 1719545, at *1 (finding direct infringement

 2    allegations insufficient where “[t]he Complaint describes the operations of the accused products,

 3    but does not specifically link this description to claim 1 of the [asserted] Patent.”).

 4            Firstface similarly directs its allegations for the ’373 and ’419 patents broadly to “Apple

 5    mobile devices that support fingerprint authentication and Siri functionality,” with the same

 6    Apple devices as “Accused Products,” and “Apple smartphones that support fingerprint

 7    authentication and Siri functionality” as a subset of the same mobile devices. (Complaint, ¶¶ 24,

 8    37.) Firstface again merely restates the claim language of the asserted claims in prose-style,

 9    without linking the asserted claim requirements to the accused instrumentalities. (Id., ¶¶ 26, 39.)

10    Asserted claim 1 of the ’373 patent requires, for instance, “upon one-time pressing of the

11    activation button while the touch screen display is turned off, the terminal is configured to turn on

12    the touch screen display and further perform . . . the first . . . function[] . . . such that: a lock

13    screen is displayed on the touch screen display . . . when at least . . . the first . . . function[] is

14    being performed.” (’373 patent, claim 1, 13:7-31.) In the Complaint, Firstface again repeats the

15    claim language to allege that “[u]pon pressing of the activation button . . . each Accused Product

16    is configured to turn on the touch screen display and perform fingerprint authentication (a first

17    function). A lock screen is displayed on the touch screen display while the fingerprint

18    authentication is performed.” (Complaint, ¶ 26.) This falls far short of the pleading requirements

19    set forth by Iqbal and Twombly, and fails to put Apple on notice as to how it allegedly infringes

20    the asserted patents. See Atlas IP, 2016 WL 1719545, at *3.

21            The asserted patents also claim the type of “less tangible inventions such as computer

22    software methods” that courts have found require a higher level of specificity to provide proper

23    notice to the alleged infringer, underscoring the insufficiency of Firstface’s allegations. Anza

24    Tech., Inc., 2016 WL 8732647, at *4. Firstface’s direct infringement claims should be dismissed.

25            B.      The Complaint fails to plausibly allege specific intent and knowledge for
                      induced infringement.
26

27            As an initial matter, Firstface has failed to adequately plead direct infringement rendering

28    its induced infringement claims necessarily insufficient. See FootBalance, 2016 WL 903681, at

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 1    *5. Firstface also fails to allege facts that would allow the Court to draw the reasonable inference

 2    that Apple had any knowledge of alleged third-party infringement or the specific intent to induce

 3    such infringement, as Twombly requires. See Twombly, 550 U.S. at 556; see also Vita-Mix Corp.,

 4    581 F.3d at 1328 (claim for inducement requires specific intent to encourage third-party conduct

 5    known to be infringing).

 6            The entirety of Firstface’s allegation of intent consists of an identical statement for each

 7    asserted patent that “Apple has provided . . . instructional materials, such as user guides, owner

 8    manuals, and similar online resources” to “customers and other end users.” (Complaint, ¶¶ 16,

 9    30, 43.) As this Court has held, however, “passing references to ‘user manuals guides, and

10    support articles,’ without ever saying what those materials contain, [] is wholly inadequate for an

11    inference of specific intent.”     CAP Co., 2015 WL 3945875, at *5 (dismissing induced

12    infringement claims for failure to allege facts allowing inference of specific intent). Firstface’s

13    induced infringement claims fail because the Complaint does not plausibly allege that Apple

14    possesses the “require[d] intent to ‘bring about the desired result.’” Commil USA, LLC v. Cisco

15    Sys., 135 S. Ct. 1920, 1928 (2015); see also DSU Med. Corp. v. JMS Co., Ltd., 471 F. 3d 1293,

16    1306 (Fed. Cir. 2006) (“[I]nducement requires evidence of culpable conduct, directed to

17    encouraging another’s infringement, not merely that the inducer had knowledge of the direct

18    infringer’s activities.”).

19            Firstface’s induced infringement claims further fail because the Complaint does not plead

20    facts that give rise to a plausible inference that Apple knew that any acts it purportedly induced

21    constituted patent infringement. See Global-Tech, 131 S. Ct. at 2065. Firstface includes a single

22    statement as to each asserted patent that “Apple knows . . . that its actions have actively induced .

23    . . infringement.” (Complaint, ¶¶ 16, 30, 43.) But this is a legal conclusion, not a statement of

24    fact, and as such is accorded no weight in evaluating the sufficiency of pleadings. Iqbal, 556 U.S.

25    at 679. The Complaint contains no facts describing what acts Apple allegedly induced and what

26    Apple knew about those acts. The Complaint fails to plausibly allege that Apple persuaded others

27    to engage in conduct that Apple “knows is infringement.” See Global-Tech, 131 S. Ct. at 2065;

28    see also Iqbal, 556 U.S. at 679.

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 1            Because Firstface has not alleged facts that plausibly support an inference that Apple

 2    knew of third-party infringement and specifically intended others to infringe the asserted patents,

 3    the claims of induced infringement should be dismissed.

 4            C.      The Complaint fails to plausibly allege a lack of substantial noninfringing use
                      and knowledge for contributory infringement.
 5

 6            Firstface has again failed to adequately plead direct infringement, a prerequisite for its

 7    contributory infringement claims. See FootBalance, 2016 WL 903681, at *5. Firstface also fails

 8    to plead any facts to support that the accused product components have no substantial non-

 9    infringing uses, as required for contributory infringement. See Fujitsu Ltd., 620 F.3d at 1326; see

10    also In re Bill of Lading Transmission & Processing Sys. Patent Litig., 681 F.3d 1323, 1337 (Fed.

11    Cir. 2012) (plaintiff must “plead facts that allow an inference that the components sold or offered

12    for sale have no substantial non-infringing uses.”)       Rather, Firstface offers only a single

13    conclusory statement as to each asserted patent, that “the Accused Products . . . are not staple

14    articles of commerce suitable for substantial non-infringing uses.” 1 (Complaint, ¶¶ 17, 31, 44.)

15    This is nothing but a bare legal conclusion “[t]hat does not come close to an adequate factual

16    allegation.” CAP Co., 2015 WL 3945875, at *6 (dismissing contributory infringement claims

17    where plaintiff alleged “accused products ‘have no use other than infringing one or more claims

18    of the Patents–in–Suit’”); see also Iqbal, 556 U.S. at 678 (“A pleading that offers ‘labels and

19    conclusions’ or ‘a formulaic recitation of the elements of a cause of action will not do.’”). Courts

20    have also found that allegations such as Firstface’s, that “Apple has provided . . . instructional

21    materials . . . that specifically teach and encourage customers and other end users to use the

22    Accused Products in an infringing manner,” actually suggest the opposite—that the accused

23    products can be used in a noninfringing manner if customers deviate from the alleged

24    instructions. See U.S. Ethernet Innovations, LLC v. Netgear, Inc., Case No. 13-CV-2262 CW,

25

26    1
       Firstface also appears to apply an incorrect legal standard, stating that the alleged infringing
      combinations have no substantial non-infringing uses, not that accused components supplied by
27    Apple have no substantial non-infringing uses. See Fujitsu Ltd., 620 F.3d at 1326 (35 U.S.C. §
      271(c) requires that “the component has no substantial noninfringing uses.”) (emphasis added).
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 1    2013 WL 4112601, at *3 (N.D. Cal. Aug. 12, 2013) (granting motion to dismiss contributory

 2    infringement claims where plaintiff’s “allegation that the products infringe if used in accordance

 3    with [defendant’s] instructions implies that the products can be used in a non-infringing manner if

 4    used in a way that deviates from those instructions”).

 5            Firstface further fails to allege any facts that would allow the Court to draw the reasonable

 6    inference that Apple “knew that the combination for which its components were especially made

 7    was both patented and infringing,” which is independently fatal to its claims. See Global-Tech,

 8    131 S. Ct. at 2067. As to each asserted patent, Firstface merely alleges the boilerplate conclusion

 9    that “each Accused Product contains memory and a processor that are specifically programmed

10    and/or configured to implement the functionality described . . . which infringes the [asserted]

11    patent.” (Complaint, ¶¶ 18, 32, 45.) Firstface’s conclusory statements are not facts from which a

12    legal conclusion can be inferred—they are merely “[t]hreadbare recitals of the elements of a

13    cause of action, supported by mere conclusory statements,” which do not suffice. See Iqbal, 556

14    U.S. at 678. Firstface’s claims of contributory infringement should be dismissed.

15            D.      The Complaint fails to plausibly allege knowledge and egregious conduct for
                      willful infringement of the ’557 patent.
16

17            Firstface accuses Apple of willfully infringing the ’557 patent, but its only factual

18    allegation of pre-suit knowledge is in the form of an offer made by Firstface in 2015 to license its

19    patent portfolio to Apple. (Complaint, ¶ 14.) That is not enough to establish actual knowledge of

20    the ’557 patent. See Longitude Licensing v. Apple Inc., Case No. 14-CV-04257, 2015 U.S. Dist.

21    LEXIS 32066, at *5-8 (N.D. Cal. Mar. 13, 2015) (granting motion to dismiss willful infringement

22    claim where allegation of general pre-suit knowledge of plaintiff’s patent portfolio was

23    insufficient to plead pre-suit knowledge of specific patents-in-suit); see also Finjan, Inc., 2017

24    WL 2462423, at *5 (same). Firstface’s resulting statement of belief that “Apple reviewed the

25    claims of the ’557 patent” (Complaint, ¶ 20) is facially unsupported in light of its allegation that

26    Apple was informed only of Firstface’s patent portfolio generally and does “not offer[] any

27    evidentiary details whatsoever” necessary to support willfulness. See Robert Bosch Healthcare

28    Sys., Inc. v. Express MD Sols., LLC, Case No. 12-CV-00068 JW, 2012 WL 2803617, at *3 (N.D.

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 1    Cal. July 10, 2012).

 2            Firstface’s willfulness claim also fails because it does not allege any facts from which a

 3    plausible inference could be reached that Apple has engaged in egregious conduct. See Finjan,

 4    Inc., 2017 WL 2462423, at *5. In fact, Firstface does not allege any facts about Apple’s conduct

 5    with respect to the ’557 patent, or its subjective intent, that would suggest that Apple acted

 6    “egregiously” with respect to any alleged infringement of the asserted patent. Instead, Firstface

 7    makes the single conclusory assertion that “[d]espite having knowledge of the ’557 patent . . .

 8    Apple has nevertheless continued its infringing conduct in an egregious manner.” (Complaint, ¶

 9    20.)   Such an assertion is not enough.        See XpertUniverse, 2017 WL 4551519, at *6.

10    Accordingly, Firstface’s allegation of willful infringement should be dismissed.

11            Firstface’s willfulness allegation should be dismissed with prejudice. Firstface has not

12    plausibly alleged—and cannot plausibly allege—that Apple had any pre-suit knowledge of the

13    ’557 patent, something courts in this district continue to require. See Radware, Ltd. v. F5

14    Networks, Inc., Case No. 5:13-CV-02024-RMW, 2016 U.S. Dist. LEXIS 112504, at*20-21 (N.D.

15    Cal. Aug. 22, 2016) (finding evidence of pre-suit knowledge insufficient to support willfulness,

16    and noting that “post-complaint conduct is of limited relevance” as Halo did not change this

17    principle). As noted above, Firstface has exhausted its factual allegations of knowledge as to the

18    ’557 patent, and they are lacking. Firstface’s failure to allege any egregious conduct by Apple

19    also cannot be cured by amendment, as there are no circumstances to allege in this case “beyond

20    typical infringement.” XpertUniverse, 2017 WL 4551519, at *6; see also CG Tech. Dev., LLC v.

21    FanDuel, Inc., Case No. 2:16-CV-00801-RCJ-VCF, 2017 WL 58572, at *6 (D. Nev. Jan. 4,

22    2017) (dismissing willful infringement claim with prejudice for failure to allege “egregious

23    misconduct occurring before the initial claim of infringement was filed,” noting that analysis as to

24    timing of allegations remains valid post-Halo) (internal quotations and citations omitted). “There

25    would be little point in these limitations if they could be avoided simply by filing an amended

26    complaint.” CAP Co., 2015 WL 3945875, at *3 (granting motion to dismiss willful infringement

27    claim without leave to amend where plaintiff did not allege that defendants knew about asserted

28    patents prior to the filing of suit).   Accordingly, Firstface’s claim of willfulness should be

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 1    dismissed without leave to amend.

 2    V.      CONCLUSION
 3            As Firstface’s direct, indirect, and willful infringement allegations lack requisite factual

 4    content to plausibly state a claim for relief, Apple requests that Firstface’s Complaint be

 5    dismissed.

 6    Dated: July 24, 2018                          MORRISON & FOERSTER LLP
 7                                                  By:    /s/ Stefani E. Shanberg
                                                           Stefani E. Shanberg
 8
                                                           Attorney for Defendant
 9                                                         APPLE INC.
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